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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

 

 

UNITED STATES OF AMERICA, )
)
v. ) No. 3:17-CR-82
)
RANDALL KEITH BEANE ) (VARLAN/SHIRLEY)

 

PROPOSED VOIR DIRE QUESTIONS /

 

submits the following proposed voir dire questions.
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2.

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COMES the Defendant Randall Keith Beane, through his elbow unsel, and hereby

 

ls anyone here familiar with the recent Bundy case and t e outcome of that case?

Is anyone here aware of the process that is required o deposit a check larger than

$9,999.99? /\
Does anyone here have a family me er or close , riend that is employed by the

government? Speciflcally but not limite o, A istant United States Attorneys or federal

agents.

 

Does anyone here have any family e bers or close friends that are employed by the

  
 
  

' really, but ot limited to, Assistant District Attomeys or police

officers

      
    

Does anyone ere kn . d/or understand the straw man accounts and/or the birth

certificate cou ts held in trust?

Has anyon here e heard of microprinting?

Does a one here know that the Federal Reserve is privately owned and not part of the

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8. Does anyone here understand what maritime/admiralty law is‘? ‘

  

9. Is anyone here aware of what an executive order is? Is anyone here aware that ari
executive order was issued on December 21, 2017 and what that order entails?

10. Has anyone here ever held, or is presently holding, a strong belief or conviction that was
in a minority opinion? And if so, did you remain strong in your belief or conviction?
Has anyone here ever been ridiculed for that minority belief or opinion?

ll. Does anyone here know what a whistleblower is? Does anyone here understand the

general intentions of the whistleblower’s actions?

Respectfully submitted this 181h day of January, 2018.

s/Stephen G. McGrath
Stephen G. McGrath

BPR 025973

91 ll Cross Park Drive

Suite D200

Knoxville, TN 37923

Phone: (865) 540-8871

Fax: (865) 540-8866

“Elbow Counsel” for Defendant

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CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of this document has been served upon counsel
for all parties of record in this case via this Court’s electronic filing system on this 18th day of
January, 2018.

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s/Ste hen G. McGrath
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